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   13   UNICLASS TECHNOLOGY CO. LTD., ET AL
   14                     UNITED STATES DISTRICT COURT
   15                   CENTRAL DISTRICT OF CALIFORNIA
   16
        ATEN TECHNOLOGY, CO. LTD.              No. 2:15-cv-04424-BRO-AJW
   17
                            Plaintiff,        DEFENDANT’S PRE-TRIAL
   18
                                              MEMORANDUM OF
   19       vs.                               CONTENTIONS OF FACTS AND
   20                                         LAW PURSUANT TO LOCAL
        UNICLASS TECHNOLOGY CO.,              RULE 16-4
   21
        LTD., et al.
   22                Defendants.              Hearing Date: June 5, 2017
                                              Hearing Time: 10:00 A.M.
   23
                                              Courtroom: 10D
   24                                         Judge: Hon. Andrew Guilford
   25
                                              Trial Date: June 20, 2017

   26
   27
   28
             _________________________________________________________________
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  1                           CONTENTIONS OF LAW AND FACT
  2   I.       INTRODUCTION
  3            Pursuant to Local Rule 16-4, Defendants Uniclass Technology Co., Ltd.,
  4   Electronic Technology Co., Ltd. of Dongguan Uniclass, Airlink 101, Phoebe Micro

  5   Inc., Broadtech International Co., Ltd. D/B/A/ Linkskey, Black Box Corporation, and
      Black Box Corporation of Pennsylvania (“Defendants”) submit their pre-trial
  6
      Memorandum of Contentions of Facts and Law. As set forth in Defendants’ January
  7
      16, 2017 expert reports, Defendants’ Technical Expert Report of Robert Dezmelyk
  8
      Regarding Non-infringement and Invalidity (“Dezmelyk Report”) and Expert Report
  9
      of Scott W. Cragun (“Cragun Report”), there is no liability among any of the
 10
      Defendants for any of Plaintiff Aten International Co., Ltd’s (“Aten”) infringement
 11
      claims.
 12
      II.      PLAINTIFF’S CLAIMS
 13             A.    Plaintiff’s Infringement Claims
 14            During this litigation, Aten has asserted infringement of 72 claims across six
 15   patents against over 125 of Defendants’ products. These patents and claims included
 16   U.S. Patent Nos.:
 17          6,957,287 (“’287 Patent”), claims 1, 3-7;
 18          7,472,217 (“’217 Patent”), claims 1, 3-7;
 19          7,640,289 (“’289 Patent”), claims 1-20;
 20          8,589,141 (“’141 Patent”), claims 1-27;
 21          6,564,275 (“’275 Patent”), claim 45; and,
 22          7,035,112 (“’112 Patent”), claims 1, 12-19, and 21-23.

 23   (collectively the “Asserted Patents”).
               After claim construction, extensive discovery, motion practice, and
 24
      reconciliation of its initial contentions, Aten has abandoned its infringement
 25
      contentions as to the ’275 and ’112 Patents, and their asserted claims, as well as
 26
      numerous other claims of the Asserted Patents, and most of the initially accused
 27
      products. Additionally, after the Court granted Defendants’ Motion to Strike Aten’s
 28
      Final Infringement Contentions Disclosed Through Its Expert Report, (see Order at
                                               1
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  1   dkt. no. 345), the parties were directed to identify the claims and accused products
  2   that do not depart substantially from Aten’s Original Contentions. After meeting and
  3   conferring to reach agreement as to what accused products remained, the parties filed
  4   a report informing the Court that they had reached an agreement as to some but not

  5   all of the accused products that remained. (See Dkt. No. 350.)
            On April 24, 2017, the Court entered its Order Granting in part and Denying in
  6
      part Defendants’ Partial Motion for Summary Judgment of Noninfringement of some
  7
      of the Asserted Claims. (Dkt. No. 364). However, because the parties cannot fully
  8
      agree as to what accused products remain to be addressed at trial (see dkt. no. 350),
  9
      Defendants present the following two tables to help identify what Asserted Claims
 10
      and accused products remain and where the parties are in disagreement.
 11
            In view of the Court’s recent orders concerning Defendants’ motion to strike
 12
      and for summary judgement of noninfringement, Defendants contend that only the
 13   following Asserted Patents, claims, and accused products remain to be addressed at
 14   the June 20, 2017 trial:
 15
 16       Defendants’ Identification of Accused Products, Asserted Patents and Claims
 17       Patents/Claims*         Accused Products (representative and linked products)
 18    ’287 Claim: 1              Rep. product: UDV-TA2
 19                               Linked products: UDP-TA2; UHV-TA2; USB-TA2
 20
       ’287 Claims: 1, 5, and     Rep. product: UKA-248
 21    6
 22                               Linked products: no linked products
       ’217 Claims: 1, 3, and
 23    4
 24    ’289 Claims: 1-20          Rep. product: None*
 25                               (*Aten only analyzed the Prima 8 product in its
 26                               Original Contentions and not the presently accused
                                  Prima T 4/8/16 products, which products are, and have
 27                               never been, sold in the United States.)
 28                               Linked products: None

                                                 2
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  1    ’141 Claims: 1-17, 26,      Rep. product: None*
       and 27
  2                                (*Aten only analyzed the Prima 8 product in its
  3                                Original Contentions and not the presently accused
                                   Prima T 4/8/16 products, which products are, and have
  4                                never been, sold in the United States.)
  5
                                   Linked products: None.
  6
  7    ’141 Claims: 1-17, 26,      Rep. product: AD-CP02A
       and 27
  8                                Linked products: AD-EP04A
  9
 10   (* collectively the “Remaining Asserted Claims”).
            As presently understood by Defendants, and in view of the Court’s order on
 11
      summary judgement of noninfringement, Aten contends that infringement of the
 12
      following Asserted Patents, claims, and accused products remain to be addressed at
 13
      the June 20, 2017 trial:
 14
 15
            Aten’s Identification of Accused Products, Asserted Patents and Claims
 16
         Patents/Claims*          Accused Products (representative and linked products)
 17    ’287 Claims: 1, 5,        Rep. product: UDV-TA2
 18    and 6
                                 Linked products: UDP-TA2; UHV-TA2; USB-TA2;
 19                              USB-SP02A; and, USB-SP04A
 20
       ’287 Claims: 1, 5,        Rep. product: UKA-248
 21    and 6
 22                              Linked products: no linked products
       ’217 Claims: 1, 3,
 23    and 4
 24    ’289 Claims: 1-20         Rep. product: Prima T8
 25                              Linked products: Prima T4 and Prima T16
 26
       ’141 Claims: 1-17,        Rep. product: Prima T8
 27
 28    26, and 27                Linked products: Prima T4 and Prima T16

                                                 3
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  1    ’141 Claims: 1-17,           Rep. product: AD-CP02A

  2    26, and 27                   Linked products:AD-EP04A; AH-832A and 834A; AI-
  3                                 832A and 834A; AL-832A and 834A; AP-832A and
                                    834A; AD-202A and 204A; AH-202A and 204A; AD-
  4                                 502D and 504D; AD-502V and 504V; AD-702D and
  5                                 704D; AD-702V and 704V; AL-702D and 704D
             In summary, its Defendants’ position that the only remaining accused products
  6
      to be decided at trial are:
  7
         1. UDV-TA2;
  8
         2. UDP-TA2;
  9
         3. UHV-TA2;
 10
         4. USB-TA2;
 11
         5. UKA-248;
 12
         6. AD-CP02A; and,
 13      7. AD-EP04A.
 14          In addition to these remaining accused products, it appears that Aten contends
 15   that the following twenty-seven products also remain at issue for trial:
 16      8. USB-SP02A;                                  22. AD-502D;
 17      9. USB-SP04A;                                  23. AD-504D;
 18      10. AH-832A;                                   24. AD-502V;
 19      11. AH-834A;                                   25. AD-504V;
 20      12. AI-832A;                                   26. AD-702D;
 21      13. AI-834A;                                   27. AD-704D;
 22      14. AL-832A;                                   28. AD-702V;

 23      15. AL-834A;                                   29. AD-704V;
         16. AP-832A;                                   30. AL-702D;
 24
         17. AP-834A;                                   31. AL-704D;
 25
         18. AD-202A;                                   32. Prima T8;
 26
         19. AD-204A;                                   33. Prima T4; and,
 27
         20. AH-202A;                                   34. Prima T16
 28
         21. AH- 204A;
                                                  4
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  1   (“Aten’s Alleged Remaining Accused Products”). (See Tables above.)
  2         Plaintiff contends that Defendants literally infringe these Remaining Asserted
  3   Claims, as well as infringing claim 1 of the ’287 Patent under the doctrine of
  4   equivalents. Aten also asserts that Defendants have directly and indirectly infringed

  5   the Asserted Claims pursuant to 35 U.S.C. § 271. Aten also contends that Defendants
      have “willfully” infringed the Asserted Patents. Each of Aten’s claims and
  6
      Defendants’ relevant contentions of facts and law will be addressed in turn.
  7
             B.     Plaintiff’s Damages Claims
  8
            The Court, in its Order re Defendants’ Motion for Summary Judgment on
  9
      Aten’s Lost Profits Damages, found that Aten could not maintain its claim for lost
 10
      profits damages as presented in its financial expert’s report. (See Dkt. No. 363).
 11
      Without lost profits damages, Aten’s own expert’s reasonable royalty damages, and
 12
      under the assumption of a finding of infringement of all the accused products
 13   identified by Aten that it contends should be addressed at trial, only amounts to a total
 14   of $682,382 for accused sales through July 15, 2016. However, when the Prima T
 15   products are removed from this calculation, as they are, and have never been, sold in
 16   the U.S., this number is reduced to $517,683. And, when the accused products that
 17   are improperly linked to Aten’s identified representative products are not included in
 18   this calculation, because they were not properly disclosed in Aten’s Original
 19   Contentions, this amount decreases to $93,530. Again, this is under Aten’s own
 20   damages expert’s calculation.
 21         Conversely, Defendants’ damages expert’s reasonable royalty calculation,
 22   under the same assumptions that infringement is found and all products remaining for

 23   trial identified by Aten as discussed in the paragraph above, is $87,542 for accused
      sales through July 15, 2016. But when the Prima T product line is removed this
 24
      amount decreases to $65,546. And, when the accused products that are improperly
 25
      linked to Aten’s identified representative products are not included in this calculation,
 26
      because they were not properly disclosed in Aten’s Original Contentions, this amount
 27
      decreases to $12,473.
 28

                                                 1
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  1          Furthermore, Aten has not presented or identified any evidence that
  2   Defendants, other than Uniclass, are susceptible to liability apart from Uniclass’
  3   alleged infringement. As such, these other defendants should be dismissed, or
  4   alternatively severed from the case.

  5   III.   NON-INFRINGEMENT
             At trial, Plaintiff bears the burden of proving infringement by a preponderance
  6
      of evidence. E.g., Federal Circuit Bar Association Model Jury Instructions, B.3.1.
  7
             Inasmuch as the Asserted Claims are method claims, Aten bears the burden of
  8
      proving that Defendants practice each and every step of the claimed method(s). E.g.,
  9
      Federal Circuit Bar Association Model Jury Instructions, B.3.1. Inasmuch as the
 10
      Asserted Claims depend on Asserted Independent Claims, if the Asserted
 11
      Independent Claims are not infringed, then the Asserted Dependent Claims cannot be
 12
      infringed. E.g., Federal Circuit Bar Association Model Jury Instructions, B.3.1 (“You
 13   must determine, separately for each asserted claim, whether or not there is
 14   infringement. There is one exception to this rule. If you find that a claim on which
 15   other claims depend is not infringed, there cannot be infringement of any dependent
 16   claim that refers directly or indirectly to that independent claim.”)
 17          A.     Literal Infringement
 18          To decide whether Defendants’ accused products, and use of such products,
 19   literally infringe any of the Asserted Claims, a comparison will need to be made of
 20   Defendants’ accused products and their use with the patent claims to determine
 21   whether every requirement of the claim(s) is included in each product or use. If so,
 22   Defendants’ accused products and use literally infringes the claims. If, however,

 23   Defendants’ accused products and use do not meet every requirement in the patent
      claims, Defendants’ accused product(s) and use do not literally infringe those claims.
 24
      Literal infringement for each asserted claim must be decided separately. E.g., Federal
 25
      Circuit Bar Association Model Jury Instructions, B.3.3.
 26
             In defense to the claims of infringement, Defendants will rely on the following
 27
      key facts and evidence (which facts, evidence and arguments are detailed in the
 28
      Dezmelyk Report and supporting documentation):
                                            2
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  1              a. The structure and function of the accused products;
  2              b. Technical documents, including but not limited to schematics, user
  3                 guides, source code, etc.;
  4              c. Testimony of Uniclass personnel;

  5              d. The expert report, together with related testimony of Defendants’ expert
                    Robert Dezmelyk; and,
  6
                 e. The prosecution histories of the Asserted Patents and cited prior art.
  7
            Defendants will also show that Plaintiff cannot meet its burden of proof as
  8
      Aten admitted that it did not secure evidence during fact discovery to meet its burden
  9
      at trial. During discovery, Aten failed to timely inspect the source code associated
 10
      with all but a handful of the accused products. As admitted by Aten’s technical expert
 11
      in his September 30, 2016 Expert Report of Dr. Tal Lavian Regarding Infringement,
 12
      Dr. Lavian was unable to assess infringement without source code. Further, according
 13   to its expert and infringement contentions, Aten has only inspected a few of the
 14   accused products. As such, Aten cannot meet its burden of proof at trial.
 15         During claim construction briefing, Aten’s previous expert, Mr. Narad, opined
 16   that the Court’s construction concerning the “wherein” clause of claim 1 of the ‘287
 17   Patent, and the construction Defendants proposed be readopted by the Court, could
 18   not be implemented in the accused products. Examples of what Mr. Narad said
 19   include:
 20       For example, Defendants’ proposed construction [the construction the Court
 21       readopted] requires that “the data stream passing between the first computer
          system and the peripheral device is left uninterrupted” when the peripheral
 22       device is “switched from a first computer system to another computer
 23       system.” As discussed above, a data flow cannot be maintained between a
          peripheral device and a first computer if the peripheral device is switched to a
 24       different computer; if the channel is not connected then a data flow cannot
 25       exist. For this reason the proposed construction renders the construed claim
          not implementable.
 26
 27   (Dkt. 93-1 p. 33); and,

 28       a POSITA would understand that synchronous switching which switched a
                                                  3
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  1       peripheral device away from a first computer and to a second computer,
          would of necessity interrupt a data flow between the first computer and the
  2       peripheral device.
  3
      (Dkt. 93-1 p. 34.) Consistent with this understanding, on May 25, 2016, then
  4
      counsel for Aten via email, notified Defendants that Aten would no longer be
  5
      asserting claim 1 of the ’287 Patent:
  6
  7
  8
  9
 10
 11
 12
 13
 14
 15
 16          B.     There is No Infringement of Claim 1 of the ’287 Patent Under the
 17                 Doctrine of Equivalents
            Aten contends that, notwithstanding the ’287 Patent’s requirement that “[b]oth
 18
      synchronous and asynchronous switching must be performed such that the data
 19
      stream passing between the first computer system and the peripheral device is left
 20
      uninterrupted at the time of switching,” dkt. no. 226, Defendants may nonetheless
 21
      infringe claims 1 and 6 of the ’287 Patent under the doctrine of equivalents. If the
 22
      jury determines that there is no literal infringement because Defendants’ accused
 23
      products cannot meet this limitation, Aten would be permitted to attempt to prove, by
 24
      a preponderance of the evidence, Defendants’ accused products infringes the asserted
 25
      claim under the doctrine of equivalents.
 26
            The Court, in its claim construction order, dkt. no. 226, construed the
 27
      “wherein” clause of claim 1 of the ’287 Patent,
 28

                                                 4
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 1         wherein the console devices can be switched either synchronously or
           asynchronously with the one or more than one peripheral device to the
 2         same one of the plurality of computer systems or to different ones of the
 3         plurality of computer systems, without interruption of the signal to the one
           or more than one peripheral device
 4
     to mean a
 5
 6        [c]onsole devices can be switched among computer systems either together
          with the switching of peripheral devices (i.e., synchronous switching) or
 7        independently (i.e., asynchronous switching.) Both synchronous and
 8        asynchronous switching must be performed such that the data stream passing
          between the first computer system and the peripheral device is left
 9        uninterrupted at the time of switching.
10
     (Dkt. 226.)
11
           Under the doctrine of equivalents, the accused products can infringe an
12
     Asserted Claim only if its switching function is identical or equivalent to the
13
     limitation as construed by the Court, “[c]onsole devices can be switched among
14
     computer systems either together with the switching of peripheral devices (i.e.,
15
     synchronous switching) or independently (i.e., asynchronous switching). Both
16
     synchronous and asynchronous switching must be performed such that the data
17
     stream passing between the first computer system and the peripheral device is left
18   uninterrupted at the time of switching.” The accused products’ switching function is
19   equivalent to this limitation if a person of ordinary skill in the field would think that
20   the differences between the two were not substantial as of the time of the alleged
21   infringement.
22         One way to decide if the two are equivalents is to consider whether, as of the
23   time of the alleged infringement, the accused products perform substantially the same
24   function, in substantially the same way, to achieve substantially the same results as
25   “[c]onsole devices can be switched among computer systems either together with the
26   switching of peripheral devices (i.e., synchronous switching) or independently (i.e.,
27   asynchronous switching). Both synchronous and asynchronous switching must be

28   performed such that the data stream passing between the first computer system and

                                                  5
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 1   the peripheral device is left uninterrupted at the time of switching.” Dkt. 226 (the
 2   Court adopting its prior claim construction in ATEN International Co., Ltd. et al. v.
 3   Emine Technology Co., Ltd. et al., SACV 09-0843 AG (MLGx).)
 4         Plaintiff may not use the doctrine of equivalents to establish infringement if

 5   Defendants’ accused products operate the same as what was in the prior art before the
     application for the ’287 Patent or what would have been obvious to persons of
 6
     ordinary skill in the field in light of what was in the prior art. A patent holder may not
 7
     obtain, under the doctrine of equivalents, protection that it could not have lawfully
 8
     obtained from the Patent and Trademark Office.
 9
           Also, there is no infringement under the doctrine of equivalents for claim 1 of
10
     the ’287 Patent because Aten cannot use this doctrine to extend claim 1’s scope to
11
     cover the prior art it was amended to overcome. DeMarini Sports, Inc. v. Worth, Inc.,
12
     239 F.3d 1314, 1332 (Fed. Cir. 2001.) The doctrine of equivalents does not permit the
13   patent holder to recapture through equivalents coverage surrendered during
14   prosecution. Id. “Clear assertions made during prosecution in support of patentability,
15   whether or not actually required to secure allowance of the claim, may … create an
16   estoppel.” Southwall Techs., Inc. v. Cardinal IG Co., 54 F.3d 1570, 1583 (Fed. Cir.
17   1995.) The Court in this case has already found in its Claim Construction Order that
18   “it is clear that the ability to switch synchronously and asynchronously without
19   interruption of the data flow is the crucial distinction from the prior art….” Dkt. 226
20   (the Court adopting its prior claim construction in ATEN International Co., Ltd. et al.
21   v. Emine Technology Co., Ltd. et al., SACV 09-0843 AG (MLGx).)
22         Plaintiff may not use the doctrine of equivalents to establish infringement if the

23   subject matter alleged to be equivalent to a requirement of the patent claim was
     described in the ’287 Patent but not covered by any of its claims. E.g., Federal Circuit
24
     Bar Association Model Jury Instructions, B.3.4.
25
           In defense to a claim of infringement under the doctrine of equivalents,
26
     Defendants will rely upon, inter alia, the content of the ’287 Patent and its file
27
     wrappers, together with the law on surrender and file wrapper estoppel.
28

                                                 6
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 1            C.    There is No Indirect Infringement
 2           Liability for indirect infringement (inducement and/or contributory
 3   infringement) must be predicated on a finding of direct infringement. Limelight
 4   Networks, Inc. v. Akamai Techs., Inc., 134 S. Ct. 2111 (U.S. 2014); Akamai Techs.,

 5   Inc. v. Limelight Networks, Inc., 797 F.3d 1020 (Fed. Cir. 2015) (on remand, en
     banc). Based on the law and the facts related to infringement and divided
 6
     infringement set forth above, Aten cannot prove direct infringement, and thus, there
 7
     can be no indirect infringement.
 8
     IV.     THERE IS NO WILLFUL INFRINGEMENT
 9
             To establish willfulness, Plaintiff will bear the burden of proving by a
10
     preponderance the evidence that Defendants engaged in egregious “misconduct
11
     beyond typical infringement.” Halo Electronics, Inc. v. Pulse Electronics, Inc., 136 S.
12
     Ct. 1923, 1935 (2016). To prove that each of the Defendants’ misconduct, if any, was
13   beyond typical infringement, the Plaintiff must prove that each Defendant acted
14   despite a high likelihood that its actions infringed a valid and enforceable patent.
15   Legitimate or credible defenses to infringement, even if not ultimately successful,
16   demonstrate a lack of recklessness. Only if the jury finds “misconduct beyond typical
17   infringement” can the jury consider whether Defendants knew, or should have
18   known, that their actions constituted an unjustifiably high risk of infringement of a
19   valid and enforceable patent. E.g., Federal Circuit Bar Association Model Jury
20   Instructions, B.3.10.
21         In defense to the claim of willful infringement, Defendants will rely on at least
22   the following key facts and evidence as set forth in the Expert Reports of Robert

23   Dezmelyk and Scott Cragun, and portions of the Reports of Plaintiff’s Experts, the
     exhibits cited on the parties’ various exhibit lists, and deposition and live testimony
24
     of Aten and Uniclass. Defendants will show through the evidence referenced above
25
     that:
26
             (a) The Patents are not infringed either directly, indirectly, or under the
27
                doctrine of equivalents.
28
             (b) The patents are invalid.
                                                   7
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 1       (c) Aten cannot establish that there ever has been a high likelihood that its
 2          patents are valid and infringed.
 3       (d) That Defendants had legitimate and credible defenses to assertions of
 4          infringement.
 5       (e) The claim construction in the Emine Litigation and this case establishes
 6          non-infringement.
 7       (f) The settlement by Aten with other accused infringers on the same patents
 8          for no money and no injunctions.
 9       (g) Defendants’ reliance on the claim construction in concluding that they did
10          not infringe was reasonable.
11       (h) Defendants’ reliance on the patents being “materially limited”, as set forth
12          in the license agreement between the parties, was reasonable.
13       (i) Plaintiff has asserted Patents against Defendants that it knows are not
14          infringed or not valid, including without limitation the ’275 patent and the
15          ’112 patent which were dropped from the case. This constitutes patent
16          misuse and generally undermines Plaintiff’s arguments that the other
17          Patents were knowingly and willfully infringed.
18       (j) Aten maintained that the UKA-248/LKV-248AUSK infringed the ’141
19          Patent for two years, even though Aten admitted in its Opposition to
20          Defendants’ Motion that it performed no or relatively little investigation or
21          analysis as to the infringement of the UKA-248/LKV-248AUSK against
22          most of the asserted claims of the ’141 Patent:
23
         While ATEN included the LKV-248AUSK in the list of products
24       originally believed to infringe the ’141 Patent, ATEN itself did not
25       even char many of the claims against the LKV-248AUSK. Instead,
         ATEN only charted claims 16-24 against that product (DKT 266-2 at
26       4.) Thus the vast majority of claims of the ’141 patent [sic] have never
27       been compared to any LKV-246AUSK [sic] product.

28

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                                 #:17822



 1   (Aten’s International’s Opposition to Defendants’ Motion for Summary Judgment of
 2   Invalidity as to All Claims of U.S. Patent No. 8,589,141, dkt. no. 301 at page 13:3-7.)
 3         (k) Plaintiff cannot carry its burden, and has made no effort to establish an
 4               evidentiary groundwork, for showing willfulness for each and every
 5               Defendant.
 6   V.    ATEN IS NOT ENTITLED TO DAMAGES UNDER ITS THEORIES
 7         To establish that Aten is not entitled to damages under its reasonable royalty
 8   theory and an injunction, Defendants will rely on at least the key facts and evidence
 9   as set forth in the Expert Reports of Robert Dezmelyk and Scott Cragun, and portions

10   of the Reports of Plaintiff’s Experts, the exhibits cited on the parties’ various exhibit
     lists, and deposition and live testimony of Aten and Uniclass.
11
            A.      The Asserted Claims Are Invalid and/or Not Infringed
12
           As discussed above and below, and as set forth in the Dezmelyk Report, if the
13
     Asserted Claims are applied so broadly as Aten now asserts in its infringement
14
     contentions, the Asserted Claims are invalid in view of the prior art as either
15
     anticipated and/or obvious. Further, certain other claims of the Asserted Patents are
16
     invalid for failure to meet the requirements set forth in 35 U.S.C. § 112. (See
17
     Dezmelyk Report.)
18
            B.      Even Assuming Validity and Infringement, Aten’s Damages Are
19                  Limited to a Reasonable Royalty
20         The Court has already determined in its Order re Defendants’ Motion for

21   Summary Judgment on Aten’s Lost Profits Damages found that Aten cannot meet its

22   burden for lost profits damages. (See Dkt. No. 363). Thus, Aten, if it is able to meet

23   its burden of proving infringement, can only obtain reasonable royalties.

24          C.      Even Assuming Validity and Infringement, Aten is Not Entitled to
                    an Injunction.
25
           Aten is not entitled to injunctive relief because, among other things, it cannot
26
     show irreparable harm. Aten did not seek a temporary restraining order or
27
     preliminary injunction in this case, and instead opted for seeking money damages at
28
     trial. It could not seek early injunctive relief because Aten could not show a
                                                 9
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 1   likelihood of success on infringement and validity and still cannot. Further, Aten
 2   could not establish irreparable harm because all of the relief it seeks can be quantified
 3   in money damages. If Aten cannot quantify its damages to some degree, it is because
 4   Aten did not or cannot sufficiently undertake evidentiary findings, not because it is
 5   entitled to injunctive relief. (See Cragun Report and other evidence cited in this
 6   section.)
 7          D.     Even Assuming Validity and Infringement, Aten is Not Entitled to
                   Damages for Any Activities Occurring Outside of the US.
 8
           Aten cannot provide any cognizable legal theory for obtaining damages on
 9
     sales of products outside of the United States. See 35 U.S.C. § 271(a). Aten has no
10
     factual or legal basis for seeking damages on sales outside of the United States.
11
           E.     Plaintiff is Not Entitled to Enhanced Damages or Attorneys’ Fees
12                Because the Infringement, if Any, is Not Willful.
13         Aten is not entitled to enhanced damages or attorneys’ fees because the
14   infringement, if any, is not willful. Further Aten cannot meet any applicable test
15   under 35 U.S.C. § 285 and applicable case law including Octane Fitness, LLC v.
16   ICON Health & Fitness, Inc., 134 S. Ct. 1749 (2014). Instead, Defendants are
17   entitled to their attorneys’ fees and costs because this is an exceptional case under
18   those same standards as set forth below.
19   VI.   DEFENDANTS’ COUNTERCLAIMS AND AFFRIMATIVE DEFENSES
20          A.     Invalidity Based on § 112 –Lack Written Description and are
                   Indefinite.
21
                  1.     Lack of Written Description
22
           Defendants contend that the Asserted Claims of the ’289 and ’141 Patents are
23
     invalid because the specification of the Asserted Patents do not contain an adequate
24
     written description of the invention.
25
           To succeed, Defendants must show by clear and convincing evidence that the
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     specification fails to meet the law’s requirements for written description of the
27
     invention. E.g., Federal Circuit Bar Association Model Jury Instructions, B.4.2.a.
28

                                                10
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 1         In the patent application process, the applicant may keep the originally filed
 2   claims, or change the claims between the time the patent application is first filed and
 3   the time a patent is issued. An applicant may amend the claims or add new claims.
 4   These changes may narrow or broaden the scope of the claims. The written
 5   description requirement ensures that the issued claims correspond to the scope of the
 6   written description that was provided in the original application. E.g., Federal Circuit
 7   Bar Association Model Jury Instructions, B.4.2.a.
 8         In deciding whether the patent satisfies this written description requirement,
 9   the jury must consider the description from the viewpoint of a person having ordinary
10   skill in the field of technology of the patent when the application was filed. The
11   written description requirement is satisfied if a person having ordinary skill reading
12   the original patent application would have recognized that it describes the full scope
13   of the claimed invention as it is finally claimed in the issued patent and that the
14   inventor actually possessed that full scope by the filing date of the original
15   application. E.g., Federal Circuit Bar Association Model Jury Instructions, B.4.2.a.
16         In support of it § 112 defenses and counterclaims, Defendants will rely on the
17   following key facts and evidence:
18         A. The Asserted Patents, their file wrappers, together with related testimony.
19         B. All evidence and testimony used in defense of Aten’s claims of
20         infringement.
21         C. The expert report, together with related testimony, of Robert Dezmelyk.
22                2.     Asserted Claims are Indefinite
23         Defendants contend that claim 6 of the ’287 patent is invalid as indefinite.
24   “[A] single claim covering both an apparatus and a method of use of that apparatus”

25   is invalid if “it is unclear whether infringement ... occurs when one creates a[n
     infringing] system, or whether infringement occurs when the user actually uses [the
26
     system in an infringing manner].” IPXL Holdings, LLC v. Amazon.com, Inc., 430
27
     F.3d 1377, 1384 (Fed.Cir.2005). Claim 6 of the ’287 Patent depends from
28
     independent claim 1, an apparatus claim, and independent claim 5, a method claim. In
                                              11
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 1   support of their indefinite claim, Defendants will rely on the following key facts and
 2   evidence:
 3         A. The Asserted Patents, their file wrappers, together with related testimony.
 4         B. All evidence and testimony used in defense of Aten’s claims of
 5         infringement.
 6         C. The expert report, together with related testimony, of Robert Dezmelyk.
 7          B.    Invalidity Based on § 102 – Anticipation

 8         In order for someone to be entitled to a patent, the invention must actually be
     “new.” In general, inventions are new when the identical method has not been made,
 9
     used, or disclosed before. Anticipation must be determined on a claim-by-claim basis.
10
     E.g., Federal Circuit Bar Association Model Jury Instructions, B.4.3.b.1.
11
           Defendants contend that all of the Asserted Claims are invalid because the
12
     claimed inventions were anticipated. Defendants must prove anticipation by clear and
13
     convincing evidence. E.g., Federal Circuit Bar Association Model Jury Instructions,
14
     B.4.3.b.1.
15
           Defendants may prove a patent claim was not new in a number of ways,
16
     including:
17
           (1) An invention is not new if it was known to or used by others in the United
18
           States before November 9, 2001 for the ’287 and ’217 Patents; November 8,
19
           2001 for the ’289 Patent; and July 24, 2007 for the ’141 Patent. An invention is
20
           known when the information about it was reasonably accessible to the public
21
           on that date; or
22
           (2) An invention is not new if it was already patented or described in a printed
23
           publication, anywhere in the world before November 9, 2001 for the ’287 and
24
           ’217 Patents; November 8, 2001 for the ’289 Patent; and July 24, 2007 for the
25
           ’141 Patent. A description is a “printed publication” only if it was publicly
26
           accessible; or
27
           (3) Aten has lost its rights if the claimed invention was already patented or
28
           described in a printed publication, anywhere in the world by Aten or anyone
                                                12
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 1         else, more than a year before November 9, 2001 for the ’287 and ’217 Patents,
 2         November 8, 2001 for the ’289 Patent, and July 24, 2007 for the ’141 Patent,
 3         which are the effective filing dates of the applications for the Asserted Patents.
 4         An invention was patented by another if the other patent describes the same
 5         invention claimed by Aten to a person having ordinary skill in the technology;
 6         or
 7         (4) An invention is not new if it was described in a published patent application
 8         filed by another in the United States or under the PCT system and designated
 9         the United States, and was published in English before November 9, 2001 for
10         the ’287 and ’217 Patents, November 8, 2001 for the ’289 Patent, and July 24,
11         2007 for the ’141 Patent; or
12         (5) An invention is not new if the claimed invention was described in a patent
13         granted on an application for patent by another filed in the United States or
14         under the PCT system and designated the United States, and was published in
15         English and the application was filed before November 9, 2001 for the ’287
16         and ’217 Patents, November 8, 2001 for the ’289 Patent, and July 24, 2007 for
17         the ’141 Patent; or
18         (6) Aten is not entitled to the Asserted Patents if the named inventors did not
19         themselves invent the invention; or
20         (7) An invention is not new if the invention was made by someone else in the
21         United States before the invention was made by Plaintiff and the other person
22         did not abandon, suppress, or conceal the invention.
23   E.g., Federal Circuit Bar Association Model Jury Instructions, B.4.3.b.1.
24         In support of it § 102 defenses and counterclaims, Defendants will rely on the
25   following key facts and evidence (which facts, evidence and arguments are detailed
26   in Defendants’ Invalidity Contentions and the Dezmelyk Report):

27         A. The Asserted Patents, their file wrappers, together with related testimony.

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                                                 13
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 1         B. Additional patents owned by Aten, together with their file wrappers and/or
 2   reexaminations.
 3         C. The Court’s claim construction.
 4         D. The parties’ claim construction briefing.

 5         E. Prior art, including without limitation, that disclosed in Defendants’
     Invalidity Contentions and in the Dezmelyk Report.
 6
           F. Dezmelyk Report.
 7
           G. Aten’s Original Infringement Contentions.
 8
            C.     Invalidity Based on §103 – Obviousness
 9
           Even though an invention may not have been identically disclosed or described
10
     before it was made by an inventor, in order to be patentable, the invention must also
11
     not have been obvious to a person of ordinary skill in the field of technology of the
12
     patent as of March 29, 2001. E.g., Federal Circuit Bar Association Model Jury
13   Instructions, B.4.3.c.
14         Defendants must establish obviousness by clear and convincing evidence. E.g.,
15   Federal Circuit Bar Association Model Jury Instructions, B.4.3.c.
16         In determining whether a claimed invention is obvious, the jury must consider
17   the level of ordinary skill in the field of water treatment that someone would have had
18   at the time the patent application was filed, the scope and content of the prior art, and
19   any differences between the prior art and the claimed invention. E.g., Federal Circuit
20   Bar Association Model Jury Instructions, B.4.3.c.
21         In considering whether a claimed invention is obvious, the jury may, but is not
22   required to find obviousness if it finds that at the time of the patent’s filing date there

23   was a reason that would have prompted a person having ordinary skill in the field of
     water treatment to combine the known elements in a way the claimed invention does,
24
     taking into account such factors as:
25
           (1) whether the claimed invention was merely the predictable result of using
26
     prior art elements according to their known function(s);
27
           (2) whether the claimed invention provides an obvious solution to a known
28
     problem in the relevant field;
                                                 14
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 1         (3) whether the prior art teaches or suggests the desirability of combining
 2   elements claimed in the invention;
 3         (4) whether the prior art teaches away from combining elements in the claimed
 4   invention;

 5         (5) whether it would have been obvious to try the combinations of elements,
     such as when there is a design need or market pressure to solve a problem and there
 6
     are a finite number of identified, predictable solutions; and
 7
           (6) whether the change resulted more from design incentives or other market
 8
     forces.
 9
     E.g., Federal Circuit Bar Association Model Jury Instructions, B.4.3.c.
10
           In support of it § 103 defenses and counterclaims, Defendants will rely on the
11
     following key facts and evidence (which facts, evidence and arguments are detailed
12
     in Defendants’ Invalidity Contentions and the Dezmelyk Report):
13         A. The Asserted Patents, their file wrappers, together with related testimony.
14         B. Additional patents owned by Aten, together with their file wrappers and/or
15   reexaminations.
16         C. The Court’s claim construction.
17         D. The parties’ claim construction briefing.
18         E. Prior art, including without limitation, that disclosed in Defendants’
19   Invalidity Contentions and in the Dezmelyk Report.
20         F. Dezmelyk Report.
21   VII. THIS IS AN EXCEPTIONAL CASE, ENTITLING DEFENDANTS TO
22        THEIR ATTORNEYS’ FEES AND COSTS.
           Due to Aten’s exceptional litigation tactics and behavior in this case,
23
     Defendants will seek its costs and attorneys’ fees pursuant to 35 U.S.C. § 285; “[t]he
24
     court in exceptional cases may award reasonable attorney fees to the prevailing
25
     party.” See also Octane Fitness, LLC v. ICON Health & Fitness, Inc., 134 S. Ct. 1749
26
     (2014). Under 35 U.S.C. § 285, courts have discretion to award reasonable attorneys’
27
     fees in patent infringement cases that are deemed “exceptional.” E.g., Mathis v.
28
     Spears, 857 F.2d 749, 754 (Fed. Cir. 1988). A case may also be found exceptional if
                                              15
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 1   it is (1) brought subjectively in bad faith and (2) is objectively baseless. Brooks
 2   Furniture v. Dutailier Int’l, 393 F.3d 1378, 1381 (Fed. Cir. 2005). Where a patentee
 3   knew or should have known that its asserted claims are not infringed a court may
 4   infer that the case was brought or maintained in bad faith. See, e.g., Kilopass

 5   Technology, Inc. v. Sidense Corp., 738 F.3d 1302, 1309-12, 1315 (Fed. Cir. 2013)
     (holding that objective or subjective bad faith prosecution of claims can be the basis
 6
     for attorneys’ fees). Subjective bad faith can be inferred where the patentee
 7
     deliberately failed to investigate whether a claim element was absent from the
 8
     accused device. See id.
 9
           Defendants plan to ask this Court to declare the case exceptional and for an
10
     award of their attorneys’ fees incurred as a result of having to defend against
11
     Plaintiff’s unusual and improper litigation approach, as well as taking unsupportable
12
     substantive positions in the case that have unnecessarily multiplied the proceedings
13   and increased the fees and costs against the Defendants who are their market
14   competitors. Defendants prevailed in transferring this case to this district and away
15   from the Eastern District of Texas. Plaintiff’s filing its complaint in Texas, despite
16   this Court having already construed significant claim terms at issue, and forcing
17   Defendants to comply with an accelerated docket and redo work that had already
18   been performed before this Court in prior cases was an unnecessary and wasteful
19   litigation tactic. The Court applied its same prior claim constructions to every
20   disputed claim term.
21         Plaintiff's assertion of 6 patents and 72 claims against more than 125 accused
22   products has made this case unwieldy from the start. Plaintiff accused, and have

23   continued to accuse, products that are and were not sold in the United States, and
     maintained infringement allegations against those products even though evidence had
24
     been provided that they could not infringe under U.S. patent law. Defendants have
25
     prevailed with respect to the ‘275 Patent and the ‘112 Patent that were dismissed
26
     from this case. Defendants were successful in striking Plaintiff’s expert report
27
     resulting in a reduction of nearly 100 accused products down to 34 accused products
28
     or less. Yet, during the entire pendency of the action, including claim construction
                                                16
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 1   and discovery, Defendants were required to address all asserted claims and undertake
 2   infringement/non-infringement and invalidity analyses as to all accused
 3   products. Plaintiff’s shotgun strategy ran up costs unnecessarily.
 4         As the case moved towards trial, Defendants sought to work with Plaintiff in

 5   vacating the trial date when it became clear that trial prep on the more than 120
     accused products would become unnecessary if all, or a part of the motion to strike,
 6
     were granted. Defendants refused. The result was that Defendants were required to
 7
     conduct trial prep on all accused products that resulted in significant unnecessary
 8
     costs. Plaintiff’s lacked diligence in accusing many products that simply could not
 9
     infringe – even when put on express notice of flaws in Plaintiff’s analysis.
10
     Ultimately, the trial date was moved upon review of Defendants’ request.
11
           Adding to these unnecessary complication and expenditure of both the parties'
12
     and Court's resources, is Plaintiff changed law firms more than four times during the
13   case and changed lead trial counsel more than five times. Each change caused time
14   and expense to be incurred by Defendants in retreading many agreements of counsel
15   and issues that had been resolved, or could not be resolved because of the
16   changes. Many deadlines including discovery and expert reports were repeatedly
17   extended to accommodate changes in counsel. Source code review, that became the
18   focus of many disputes and motion practice, would have been substantially
19   streamlined if Plaintiff had not changed counsel multiple times. Eventually, Plaintiff
20   agreed to pay some of Defendants’ costs associated with post-discovery source code
21   review, evidencing the injustice that was and continued to occur. However, Plaintiff
22   has failed to make any such agreed to payment.

23         Defendants will also seek attorneys’ fees as the prevailing party pursuant to 35
     U.S.C. § 284.
24
25
     Dated: May 15, 2017                    Respectfully submitted,
26
27                                          /s/ Joseph G. Pia
                                            Joseph G. Pia
28                                          Robert E. Aycock
                                               17
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                                     Attorney for Defendants
 2                                   UNICLASS TECHNOLOGY CO., LTD.,
 3                                   ELECTRONIC TECHNOLOGY CO., LTD.
                                     OF DONGGUAN UNICLASS,
 4                                   AIRLINK 101, PHOEBE MICRO INC.,
 5                                   BROADTECH INTERNATIONAL CO.,
                                     LTD. D/B/A/ LINKSKEY, BLACK BOX
 6                                   CORPORATION, and BLACK BOX
 7                                   CORPORATION OF PENNSYLVANIA

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